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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

ORTIZ & ASSOCIATES CONSULTING, LLC, )
                                    )
                 Plaintiff,         )
      v.                            )                   C.A. No. 18-1265-MN
                                    )
ROKU, INC.,                         )
                                    )
                 Defendant.         )

                 DEFENDANT ROKU, INC.’S MOTION TO DISMISS FOR
                   LACK OF PATENT-ELIGIBLE SUBJECT MATTER

         Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant Roku, Inc. moves to dismiss Plaintiff’s

Complaint, with prejudice. The grounds for this motion are set forth in Roku’s Opening Brief,

submitted herewith.



                                                 ASHBY & GEDDES

                                                 /s/ Steven J. Balick
                                                 _____________________________
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